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EXHIBIT H
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RHODE ISLAND DEPARTMENT OF CORRECTIONS

 

 

 

 

 

 

POLICY AND PROCEDURE
POLICY NUMBER: | EFFECTIVE DATE:
18.43-3 DOC 12/02/19 PAGE 1 OF 4
SUPERSEDES: DIRECTOR: Please use BLUE ink.
18.43-2 DOC Lie
SECTION: SUBJECT:
HEALTH CARE SERVICES HEALTH EVALUATION OF INMATES
IN ADMINISTRATIVE AND/OR
DISCIPLINARY CONFINEMENT

 

 

AUTHORITY: Rhode Island General Laws (RIGL) § 42-56-10 (22), Powers of the
director

 

REFERENCES: NCCHC P-G-02 (essential), Segregated inmates; NCCHC P-F-03
(essential), Mental health services; the most recent versions of RIDOC policies 11.01
DOC, Code of Inmate Discipline; 18.00 DOC, Treatment Philosophy and Access to
Care; 18.20 DOC, Pharmaceutical and Medical Device Distribution; 18.34 DOC, Daily
Handling of Non-Emergency Medical Requests and Sick Call

 

INMATE / PUBLIC ACCESS? X YES

 

 

AVAILABLE IN SPANISH? X NO

 

L PURPOSE:

To ensure inmates at the Rhode Island Department of Corrections (RIDOC) who are
placed in administrative and/or disciplinary confinement receive appropriate medical
and/or mental health supervision, treatment, and related health services when indicated.

U. POLICY:

A. All inmates who are separated from the general population for administrative
and/or disciplinary reasons have access to Health Care Services staff and health
care services (including medical, mental, and dental services), and shall be
regularly monitored for any changes in their mental or physical health status.

B. Health Care Services staff who conduct medical record reviews and/or personally
interview, evaluate, or treat inmates in administrative and/or disciplinary

 
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confinement shall document such reviews or encounters in the inmates’ Electronic
Medical Record (EMR).

Mental health services will continue as deemed appropriate by Behavioral Health
Services staff while the inmate is in administrative and/or disciplinary
confinement.

D. Behavioral Health Services and/or Health Care Services staff will promptly
identify and inform Shift Command or the Warden’s designee of inmates who are
physically or psychologically deteriorating and those exhibiting other signs or
symptoms of failing health.

E. Any RIDOC staff member who is aware that an inmate who is placed in
administrative and/or disciplinary confinement was receiving mental health
services prior to such placement, or who notes that an inmate is exhibiting a change
in mental health status while under such confinement, refers said inmate to a
member of RIDOC’s Behavioral Health Services staff directly or through the
facility's nursing staff.

Til. PROCEDURES:
A. Notifications:

1. Behavioral Health Services staff check the Discipline Menu--Awaiting
Hearing Report in the Inmate Facility Tracking System (INFACTS) daily for
all discipline reports issued in their facility. The medical records of all
inmates who enter administrative and/or disciplinary confinement are then
reviewed.

2 Security staff shall immediately notify Behavioral Health Services staff
whenever an inmate in administrative and/or disciplinary confinement
exhibits signs or symptoms of a deterioration of mental health.

3. Wardens, Deputy Wardens and Behavioral Health Services staff shall
receive an e-mail notification of any inmate who has been in administrative
and/or disciplinary confinement for more than thirty (>30) days. This
notification is automatically generated by INFACTS beginning on the
twenty-fourth (24) day of confinement. Behavioral Health Services staff
are alerted that the deadline for the assessment of inmates who remain in
administrative and/or disciplinary confinement for more than thirty (>30)
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days is approaching. (For more information regarding this review process,
please see the most recent version of RIDOC policy 11.01 DOC, Code of

Inmate Discipline.)

B. Mental Health Services Review and Documentation:

1. Behavioral Health Services staff review the medical records of all inmates
who enter administrative and/or disciplinary confinement.

a.

Such medical record reviews occur during the first business day
following the inmate’s admission to the administrative and/or
disciplinary confinement unit/area (e.g., if an inmate is placed in
administrative and/or disciplinary confinement on Tuesday, the
medical record review is conducted by the close of business on
Wednesday; if an inmate is placed in administrative and/or
disciplinary confinement on Friday, and Monday is a holiday, the
medical record review is conducted by the close of business on
Tuesday, etc.)

The Behavioral Health Services clinical staff member who conducts

the medical record review enters an appropriate note in the inmate's
EMR.

ms Nursing staff will tour the confinement units/areas daily. These rounds are
documented by:

a.

Custody staff - in Administrative and/or Disciplinary Confinement
Log Books.

Health Care Services staff - on the Administrative/ Disciplinary
Confinement Daily Health Status Check Sheet (also known as “log
cards”) posted by each inmate's cell.

NOTE: After an inmate is discharged from administrative and/or
disciplinary confinement, all “log cards” are filed in his/her medical
record.

3: Behavioral Health Services staff shall review the mental health status of
inmates who have been in administrative and/or disciplinary confinement
for more than thirty (>30) days and document their findings in the inmate’s
medical record. (For more information regarding this review process, please
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see the most recent version of RIDOC policy 11.01 DOC, Code of Inmate
Discipline.)

a. Behavioral Health Services clinical staff shall interview all inmates
who remain in administrative and/or disciplinary confinement for
more than thirty (>30) days. This interview will occur on the first
business day following the thirtieth (30) day in such confinement.

b. If administrative and/or disciplinary confinement continues beyond
thirty (~30) days, a Behavioral Health Services staff member shall
repeat assessments at clinically appropriate intervals, but at least
once every thirty (30) days thereafter.

€. All Behavioral Health Services staff encounters, assessments, and
notes will be documented in the inmate’s EMR.

= All notifications received from custody or other staff regarding any inmate's
altered mental state or mental health needs shall be documented by the
Behavioral Health Services staff member who received the notification in the
inmate’s EMR and in the facility’s daily log. Documentation shall include:
a. the name of the staff person making the referral;

b. the date and time of the referral; and

c. the reason for the referral.
